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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
CYNTHIA DYSON, )
)
Plaintiff, )
) No. ll-CV-089l()

v- )

) Judge Ronalcl Guzrnan
VERIZON WIRELESS )
CORPORATION, )
)
Defendant. )

JOINT STIPULATION OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 4l(a)(l)(ii), Plaintiff Cynthia Dyson

and Defendant Cellco Partnership d/b/a Verizon Wireless, hereby stipulate to the dismissal of

this action With prejudice, pursuant to settlement Each party shall bear hers or its own costs and

attorneys’ fees.

Dated: l\/lay 29, 2014

CYNTHIA DYSON

By: /s/ Michael L. Tina,qlia
One of Her Attorneys

Michael L. Tinaglia
J. Molly Wretzky

LaW Offices of Michael Lee Tinaglia, Ltd.

444 N. Northwest Highway, Suite 350
4 Parl< Ridge, lllinois 60068

CELLCO PARTNERSHIP d/b/a VERIZON
WIRELESS

By: /s/ Nadine C. Abraharns
One of lts Attorneys

Nadine C. Abraharns

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Chicago, Illinois 60601

 

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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on May 29, 2014, she caused the
foregoing Joint Stipulation of Dismissal to be filed With the Court by electronic filing protocols,
and that same Will therefore be electronically Served upon all attorneys of record registered With

the Court’s ECF/CM system.

/s/ Nadine C. Abraharns
One of Defendant’s Attorneys

 

